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    News                                                                                                King County Executive
                                                                                                           Dow Constantine



    King County enters Phase 2 of Safe Start
    recovery plan
    June 19, 2020




      Summary

    King County’s application to enter Phase 2 of Gov. Inslee’s Safe Start
    recovery plan was approved by the state Department of Health today,
    allowing many businesses following the state guidelines to operate at double
    the capacity of the modified Phase 1.



      Story

    Following approval by state Secretary of Health John Wiesman, King County has officially entered
    Phase 2 of the state’s Safe Start recovery plan to allow limited business re-opening. Phase 2
    allows for twice the capacity in retail, restaurants, and other businesses previously allowed in King
    County’s modified Phase 1 and goes into effect immediately.

    “Moving to Phase 2 is another step toward economic recovery for our region, but it must go hand-
    in-hand with even more careful adherence to precautions from our public health experts,” said
    Executive Constantine. “Wearing face coverings, washing hands, and avoiding crowds and
    unnecessary contact can help make ours a one-way trip back to prosperity, and prevent the need
    to go back to stay-at-home orders.”

    While there are no additional categories of businesses included in moving from modified Phase 1
    to Phase 2, the operating capacity has doubled for those able to reopen. For example, restaurants
    can now operate with 50% of indoor capacity, and retail with 30% capacity. Businesses with
    questions on how to safely reopen under the state’s guidance are encouraged to call Public
    Health's Business Compliance Line at 206-296-1608.

    “We evaluated a number of factors to apply to move to phase two of reopening. Our healthcare
    system, perhaps the single most important factor, is currently well-prepared to care for COVID-19
    cases as well as the other health needs of our community,” said Dr. Jeff Duchin, Health Officer for
    Public Health – Seattle & King County.

    Public Health officials recommend that people keep 6 feet apart from one another whenever
    possible. Outdoors exposures are less risky than indoors, and improving indoor ventilation is
    recommended. In addition, people need to wear face coverings in public, wash hands frequently,

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    and get tested at the first sign of symptoms.

    “Our cases have declined significantly since the peak of the outbreak in late March, and are now
    hovering around our target goal,” said Duchin. “Over the past seven days, however, we have seen
    an uptick in the number of cases compared to the previous week. With re-opening, we anticipated
    more cases in the community. That is why it is now more important than ever keep 6 feet apart
    from one another whenever possible and minimize unnecessary activity, especially people at
    increased risk for COVID-19.”

    “As we move into phase 2 and for the foreseeable future, our risk will be increasing, not
    decreasing,” said Duchin. “COVID-19 has not gone away and we must take the ongoing risk very
    seriously. If we are going to be successful continuing to reopen, it's essential that we do
    everything we can to prevent COVID-19 spread as we have more contact in social, recreational
    and work-related settings.”

    Phase 2 activities permitted by the state include the following:


    Card Rooms
    Activities allowed: All card rooms or similar activities.

    Limitations: All card rooms are subject to Phase 2 guidance which generally restricts the card
    room designated area to the lesser of 25% capacity or 50 individuals. The restaurants or taverns
    area of the facility is required to follow the Phase 2 guidance, which restricts capacity to 50% and
    prohibits bar service. Limitations on capacity does not include staff.


    Construction
    Activities allowed: All construction, including new work and where social distancing may not be
    maintained.

    Limitations: All construction activities are subject to Phase 2 guidance.


    Domestic Services
    Activities allowed: Any worker (hourly, salaried, independent contractor, full-time, part-time, or
    temporary) who is paid by one or more employer and provides domestic services to an individual
    or household in/about a private home as a nanny, house cleaner, cook, private chef, or household
    manager.

    Limitations: All domestic services are subject to Phase 2 guidance.


    Drive-in theaters
    Activities allowed: All drive-in theaters.

    Limitations: All drive-in theaters are subject to Phase 2 guidance.


    Fitness
    Activities allowed: Staffed indoor fitness studios and facilities, including but not limited to
    gymnastics, weight and resistance training, martial arts, yoga, and similar instructor-led fitness
    services, as well as staffed indoor tennis facilities.

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    Limitations: All fitness activities are subject to Phase 2 guidance which generally limits to groups
    of five participants or less.


    Higher Education
    Activities allowed: All non-lecture based higher education and workforce training, including where
    social distancing may not be maintained.

    Limitations: All higher education activities are subject to Phase 2 guidance.


    In-store retail
    Limitations: All retail activities are subject to Phase 2 guidance which restricts customer occupancy
    to 30% of a building’s occupancy or lower as determined by the fire code.


    Library services
    Activities allowed: All public libraries, public library systems, institutional and governmental
    libraries, and libraries at institutions of higher education.

    Limitations: All library activities are subject to Phase 2 guidance which limits services to mail or
    curbside pick-up and libraries remain otherwise closed to the public.


    Manufacturing operations
    Limitations: All manufacturing activities are subject to Phase 2 guidance.


    Outdoor recreation
    Activities allowed: Staffed outdoor tennis facilities; guided ATV, paddle sports, and horseback
    riding; go-cart tracks, ORV/motocross facilities, and participant only motorsports; gondolas; zoos
    and aquariums; guided fishing, and all other similar activities.

    Limitations: All outdoor recreation activities are subject to Phase 2 guidance and are generally
    limited to groups of five participants or less, in some instances up to 12 individuals or three
    households are permitted.


    Personal services
    Activities allowed: All personal services including Cosmetologists, Hairstylists, Barbers,
    Estheticians, Master Estheticians, Manicurists, Nail Salon Workers, Electrologists, Permanent
    Makeup Artists, Tattoo Artists, Cosmetology Schools and Esthetics Schools.

    Limitations: All personal services are subject to Phase 2 guidance which restricts customer
    occupancy to 50% with the exception of one to one services in an enclosed room.


    Pet grooming
    Activities allowed: All pet grooming services including any location provided by an individual, or at
    a retail, veterinary, or other facility.

    Limitations: All pet grooming services are subject to Phase 2 guidance which restricts client
    occupancy to 50%.

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    Professional photography
    Limitations: All professional photography services are subject to Phase 2 guidance which restricts
    services to appointment only and for one client (and family member, if client is a minor) at any
    given time. Group sessions are not allowed unless the group consists of immediate family only.


    Professional services
    Activities allowed: Accountants, architects, attorneys, engineers, financial advisors, information
    technologists, insurance agents, tax preparers, and other office-based occupations that are
    typically serving a client base.

    Limitations: All professional services are subject to Phase 2 guidance which restricts guest
    occupancy to 50% of a building’s occupancy with the exception of one to one service in a fully
    enclosed room.


    Real estate (residential and commercial)
    Activities allowed: All real estate brokers, firms, independent contractors and industry partners.

    Limitations: All real estate activities are subject to Phase 2 guidance which generally restricts out
    of office activities to appointment only and with no more than three people; office activities
    require reservations for in-person customer services and guest occupancy is limited to 50% of a
    building’s occupancy.


    Religious and faith organizations
    Activities allowed: All religious and faith-based organizations may operate services including
    worship services; religious study classes; religious ceremonies; religious holiday celebrations,
    weddings, and funerals.

    Limitations: All religious and faith based activities are subject to Phase 2 guidance which generally
    restricts indoor services to the lesser of 25% capacity or 200 individuals (whichever is less) and
    in-home services/counseling is restricted to no more than five individuals. Outdoor services are
    permitted for up to 100 individuals. Limitations on capacity does not include an organization’s
    staff, but does include volunteers.


    Restaurants and taverns
    Limitations: All restaurant and tavern operations are subject to Phase 2 guidance which prohibits
    any bar seating and restricts indoor customer occupancy to 50% of a building’s occupancy or
    lower as determined by the fire code. Outdoor dining is allowed at 50% of capacity and does not
    count toward the building occupancy limit; additional outdoor seating will be allowed provided it
    follows Public Health – Seattle & King County’s best practices and a restaurant secures any
    municipal permit that may be required.


    Social and recreational gatherings
    Limitations: Individuals may gather with five or fewer people from outside their household per
    week.


    Sporting activities
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    Activities allowed: Golf; professional sporting activities indoor and outdoor; outdoor youth team
    sports and outdoor adult recreational team sports, excluding school-connected or administered
    team sports and junior hockey.

    Limitations: All sporting activities are subject to Phase 2 guidance (golf and other sporting
    activities). Non-professional sporting activities are generally limited to groups of five participants
    or less; for team sports that can mean limiting to groups of five in separate parts of the field if
    separated by a buffer zone. Professional sporting activities may generally operate, including up to
    50 people for back office operations, for full team practices and spectator-less games and
    competitions.



      Relevant links

            Safe Start King County
            Phase 2 Application
            Safe Start Plans and Guidance for Reopening



      Quotes




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                     our region, but it must go hand-in-hand with even more careful
                     adherence to precautions from our public health experts. Wearing
                     face coverings, washing hands, and avoiding crowds and
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                     prosperity, and prevent the need to go back to stay-at-home
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                     Dow Constantine, King County Executive




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                     Our cases have declined significantly since the peak of the
                     outbreak in late March. Cases are now hovering around our target
                     goal. However, over the past seven days, we have seen an uptick in
                     the number of cases compared to the previous week. With re-
                     opening, we anticipated more cases in the community. That is why
                     it is now more important than ever keep 6 feet apart from one
                     another whenever possible and minimize unnecessary activity,
                     especially people at increased risk for serious COVID-19.
                     Remember, outdoor exposures are less risky than indoors, and
                     improving indoor ventilation is recommended. In addition, people
                     need to wear face coverings in public, wash hands frequently, and
                     get tested at the first sign of symptoms.

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                     will be increasing, not decreasing. COVID-19 has not gone away
                     and we must take the ongoing risk very seriously. If we are going
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                     everything we can to prevent COVID-19 spread as we have more
                     contact in social, recreational and work-related settings.

                     Dr. Jeff Duchin, Health Officer Public Health - Seattle & King
                     County



    FOR MORE INFORMATION, CONTACT:
    Chase Gallagher, Executive Office, 206-263-8537




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      Get directions


     King County Executive
     Dow Constantine




     Read the Executive's biography




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